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 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,                        ) CASE NO. 21-CR-274 CRB
                                                      )
14          Plaintiff,                                )
                                                        PETITION FOR WRIT OF HABEAS CORPUS
                    v.                                ) AD PROSEQUENDUM
15
                                                      )
16   IAN BENJAMIN ROGERS,                             )
                                                      )
17          Defendant.                                )
                                                      )
18
19
     TO:    The Honorable SALLIE KIM, United States Magistrate Judge for the Northern District of
20
            California
21

22
            Assistant United States Attorney Frank J. Riebli respectfully requests that the Court issue a Writ
23
     of Habeas Corpus Ad Prosequendum for the person of prisoner IAN BENJAMIN ROGERS, whose
24
     place of custody or jailor are set forth in the requested Writ, attached hereto. On January 26, 2021, the
25
     Court issued a complaint, in 3-21-MJ-70157 MAG charging ROGERS with violations of 26 U.S.C.
26
     §§ 5861(d) and 5845. ROGERS was in state custody at the time, facing state weapons charges.
27
     Accordingly, on February 18, 2021, the government obtained a writ to secure ROGERS’s appearance on
28
     PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 21-CR-274 CRB                         1
               Case 3:21-cr-00274-CRB Document 41 Filed 01/06/22 Page 2 of 4




 1 the federal charge, but the writ authorized a remote appearance. Thus, ROGERS remained in state

 2 custody and made his initial appearance on the federal charge on February 23, 2021 by Zoom. On July

 3 7, 2021, the grand jury indicted ROGERS for violations of 18 U.S.C. §§ 844(i) and (n), 26 U.S.C.

 4 §§ 5861(d) and 5845, and 18 U.S.C. § 922(o) (three counts), in case number 21-CR-274 CRB.

 5 ROGERS appeared by Zoom and been arraigned on the Indictment. His next appearance before the

 6 District Court is February 2, 2022. In order to facilitate the orderly prosecution of the case and trial

 7 setting and preparation, the government now seeks the physical transfer of ROGERS into federal

 8 custody.

 9          The government previously applied for and obtained a writ (in December 2021). At the request

10 of the United States Marshals Service the government submits this new application with the language

11 the USMS requests, seeking ROGERS’s transfer forthwith.

12          The government has consulted with the Napa County District Attorney’s Office and that office

13 consents to ROGERS’s transfer to federal custody by this writ.

14          The prisoner, IAN BENJAMIN ROGERS, is required to appear as a defendant in the above-

15 entitled matter in this Court on the date identified in the writ and for all future hearings, and therefore

16 petitioner prays that the Court issue the Writ as presented.

17

18 Dated: January 6, 2022                                          Respectfully Submitted,

19                                                                 STEPHANIE M. HINDS
                                                                   United States Attorney
20

21                                                                 /s/ Frank J. Riebli
                                                                   Frank J. Riebli
22                                                                 Assistant United States Attorney
23

24

25

26

27

28
     PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 21-CR-274 CRB                         2
               Case 3:21-cr-00274-CRB Document 41 Filed 01/06/22 Page 3 of 4




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10                                    UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                         SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,                         )   CASE NO. 21-CR-274 CRB
                                                       )
14          Plaintiff,                                 )
                                                           [PROPOSED]
                    v.                                 )
15
                                                       )   ORDER GRANTING PETITION FOR WRIT OF
16   IAN BENJAMIN ROGERS,                              )   HABEAS CORPUS AD PROSEQUENDUM
                                                       )
17          Defendant.                                 )
                                                       )
18
19
            Upon motion of the United States of America, and good cause appearing therefore,
20
     IT IS HEREBY ORDERED that the request of the United States for issuance of the Writ of Habeas
21
     Corpus Ad Prosequendum requiring the production of defendant IAN BENJAMIN ROGERS, before
22
     this Court on the date stated in the Writ submitted, or as soon thereafter as practicable, and requiring that
23
     the defendant be present for all future hearings, is GRANTED and the Writ shall be issued as presented.
24

25
     DATED: ___________________                                    __________________________________
26                                                                 HON. SALLIE KIM
                                                                   United States Magistrate Judge
27

28

     [PROPOSED] ORDER
     CASE NO. 21-CR-274 CRB                            1
              Case 3:21-cr-00274-CRB Document 41 Filed 01/06/22 Page 4 of 4




 1                          WRIT OF HABEAS CORPUS AD PROSEQUENDUM

 2

 3 TO:      DONALD M. O’KEEFE, United States Marshal for the Northern District of California or

 4          and DINA JOSE, Napa County Director of Corrections and /or any of their authorized

 5          deputies:

 6

 7          Pursuant to the foregoing petition and order, you are directed to remove the body of IAN

 8 BENJAMIN ROGERS (DOB 3/16/1976) from the custody of Napa County Department of Corrections,

 9 at 1125 Third Street in Napa, California 94559, into federal custody in the Northern District of

10 California, forthwith, or as soon as practicable, on the charges filed against defendant in the above-

11 entitled Court and further to produce said defendant at all future hearings as necessary until the

12 termination of the proceedings in this Court.

13          Should the current custodian release IAN BENJAMIN ROGERS from its custody, you are

14 directed that the defendant immediately be delivered and remanded to the U.S. Marshals for the

15 Northern District of California and/or his authorized deputies under this Writ.

16

17

18 DATED: ______________________                          CLERK, UNITED STATES DISTRICT COURT
                                                          NORTHERN DISTRICT OF CALIFORNIA
19

20
                                                   By:    __________________________________
21                                                        DEPUTY CLERK

22

23

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25

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     WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 21-CR-274 CRB                               2
